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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JARMARL K. JOHNSON,


Defendant.                                           No. 08-30170-DRH

                                      ORDER

HERNDON, Chief Judge:

             This matter was referred to United States Magistrate Judge Clifford J.

Proud for the specific purpose of conducting a change of plea for Defendant Johnson,

pursuant to 28 U.S.C. § 636, LOCAL RULE 72.1(b)(2) and Defendant Johnson’s

consent (Docs. 328 & 332). Pursuant to FEDERAL RULE OF CRIMINAL PROCEDURE 11,

the change of plea hearing was held on January 22, 2010 (Docs. 331, 333 & 334).

During the change of plea, Defendant Johnson plead guilty to Count I of the Second

Superseding Indictment, conspiracy to distribute and possess with the intent to

distribute marijuana, following a thorough colloquy with Judge Proud. Thereafter,

Judge Proud issued a Report and Recommendation (“the Report”) recommending

that the Court accept Defendant Johnson’s plea of guilty (Doc. 335).

             In accordance with 28 U.S.C. § 636(b)(1)(B), the parties were allowed

fourteen days to file written objections. As of this date, neither party has filed an

objection. Therefore, the Court ADOPTS the Report in its entirety. Thus, it is the

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finding of the Court in the case of United States v. Jarmarl K. Johnson, that

Defendant Johnson was fully competent and capable of entering an informed plea,

that he was aware of the nature of the charges and the consequences of the plea, and

that the plea of guilty was a knowing and voluntary plea supported by an

independent basis in fact containing each of the essential elements of the offense.

Accordingly, the Court ACCEPTS Defendant Johnson’s guilty plea and ADJUDGES

him GUILTY on Count 1 of the Second Superseding Indictment.               The Court

REMINDS the parties that this matter for sentencing on May 7, 2010 at 10:00 a.m.

            IT IS SO ORDERED.

            Signed this 9th day of February, 2010.



                                             /s/ DavidRHer|do|
                                             Chief Judge
                                             United States District Court




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